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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
MARNIE O’BRIEN                                :       CIVIL ACTION
                       Plaintiff,             :       NO. 2:19-cv-06078-JMG
-vs-                                          :
                                              :
THE MIDDLE EAST FORUM, et al.                 :
                                              :
                       Defendants.            :

            MARNIE O’BRIEN’S OBJECTIONS TO DOCUMENTS REQUESTED

       Marnie O’Brien hereby serves timely objections to the two (2) subpoenas sent to Ms.

O’Brien through counsel by email. Of note, the two (2) subpoenas were not served upon Ms.

O’Brien but only sent by email to Ms. O’Brien’s counsel.

                        OBJECTIONS TO DOCUMENT REQUESTS

       1.       Marnie O’Brien objects to the subpoenas overly broad, unduly burdensome, not

relevant to the above captioned matter, immaterial, not proportional to the needs of the case,

considering the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.

       2.       Marnie O’Brien objects to the Documents Requests to the extent they seek

information that is protected the attorney-client privilege, attorney-work product doctrine,

common interest privilege, settlement privilege, or any other applicable privilege. Marnie

O’Brien hereby asserts all such applicable privileges, protections, and immunities. Marnie

O’Brien intends to preserve all such privileges to the fullest extent, and any disclosure of

privileged information in response to these Requests shall be deemed inadvertent and shall not
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waive those privileges, protections, or immunities as to that or any other information or

document.

       3.       Marnie O’Brien objects to the Subpoenas to the extent they seek information

subject to an obligation of confidentiality to a third party or that Marnie O’Brien believes is

sensitive, proprietary, or otherwise confidential. Marnie O’Brien agrees to provide such

information, subject to the other objections stated herein, only in accordance with terms of a

confidentiality agreement.

       4.       Marnie O’Brien objects to the Subpoenas to the extent they purport to impose on

Marnie O’Brien duties or responsibilities greater than those imposed by the Federal Rules of

Civil Procedure, Local Rules, or any Order of this Court or any other court with jurisdiction over

this matter or subpoena.

       5.       Marnie O’Brien objects to the Subpoenas to the extent that any Request is

unreasonably cumulative, redundant, or duplicative of any other discovery request.

       6.       Marnie O’Brien objects to the Subpoenas to the extent they seek information that

is already in the possession of the party making the request or that is equally available or readily

ascertainable from some other source that is more convenient, less burdensome, or less

expensive.

       7.       Marnie O’Brien objects to the Subpoenas to the extent that any Request purports

to require Marnie O’Brien to provide information that does not exist or that is not in Marnie

O’Brien’s possession, custody, or control.

       8.       Marnie O’Brien objects to the Subpoenas to the extent they are vague, ambiguous,

or otherwise use words and phrases that are not understandable or cannot be easily interpreted.
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       9.       Marnie O’Brien objects to the Subpoenas to the extent any Request, whether

standing alone or taken in conjunction with any other discovery request, is overbroad, seeks

information that is not relevant to the claims or defenses of either party to this action or

otherwise required to be disclosed under the Federal Rules of Civil Procedure, Local Rules, or

any other Order of this Court, or is calculated to annoy, embarrass, oppress, unduly burden, or

cause undue expense to Marnie O’Brien.

       10.      Marnie O’Brien objects to the subpoenas to the extent that any Request seeks

information from a time period (including an unlimited time period) that is unduly burdensome

or overbroad.

       11.      Marnie O’Brien objects to the Subpoenas as premature to the extent that any

Request seeks discovery prior to the date such information is to be exchanged pursuant to the

Federal Rules of Civil Procedure, Local Rules, or any Order of this Court.

                                                       POND LEHOCKY, LLP



                                                    By:         /s/ Erica A. Shikunov__
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DATED: May 11, 2020
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                             CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Marnie

O’Brien’s timely objections to the Subpoena to Produce Documents t o be served via

email to:

                                Clark Hill PLC
                                2001 Market Street
                                Suite 2620
                                Philadelphia, PA 19103
                                klevine@clarkhill.com
                                mdibianca@clarkhill.com



                                         POND LEHOCKY LLP


                                         By:    /s/Erica A. Shikunov
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DATED: May 12, 2020
